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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA


  LARRY DARLINGTON,

                          Plaintiff,                        Case No.: 21-cv-60716-Ruiz/Strauss

         v.
                                                            JURY TRIAL DEMANDED
  COMBE, INC., et al.,

                          Defendants.

                         ANSWER AND AFFIRMATIVE DEFENSES OF
                           DEFENDANT COMBE INCORPORATED

         COMES NOW Defendant, Combe Incorporated (Combe), by and through undersigned

  counsel, files its Answer and Affirmative Defenses to Plaintiff’s Complaint, and states as

  follows. Any allegation not expressly admitted by Combe is denied.

         1.      Paragraph 1 of Plaintiff’s Complaint calls for a legal conclusion, to which no

  response is required. To the extent a response is required, Combe admits only that Plaintiff seeks

  damages in excess of thirty thousand dollars ($30,000). Combe denies that it is liable to Plaintiff

  for any damages and denies all remaining allegations in paragraph 1 of Plaintiff’s Complaint.

         2.      Combe lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 2.

         3.      Combe admits the allegations in paragraph 3 of Plaintiff’s Complaint.

         4.      The allegations in paragraph 4 are not directed toward Combe, and therefore no

  response is required.     To the extent a response is required, Combe lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations contained in paragraph 4.

         5.      Paragraph 5 of Plaintiff’s Complaint calls for a legal conclusion, to which no

  response is required. To the extent a response is required, Combe admits only that the U.S.
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  District Court for the Southern District of Florida has personal jurisdiction over the parties.

  Combe denies all remaining allegations in paragraph 5 of Plaintiff’s Complaint, including the

  allegations in subparts a and b.

         6.      Paragraph 6 of Plaintiff’s Complaint calls for a legal conclusion, to which no

  response is required. To the extent a response is required, Combe admits only that it designs,

  manufactures, distributes, and sells Just For Men. Combe denies all remaining allegations in

  paragraph 6 of Plaintiff’s Complaint.

         7.      Paragraph 7 of Plaintiff’s Complaint calls for a legal conclusion, to which no

  response is required.

         8.      Combe lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 8.

         9.      Combe lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 9.

         10.     Combe lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 10.

         11.     Combe denies the allegations in paragraph 11 of Plaintiff’s Complaint.

         12.     Combe denies the allegations in paragraph 12 of Plaintiff’s Complaint.

                          COUNT 1 – NEGLIGENCE AGAINST COMBE1

         13.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.




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   The repetition of the Complaint’s subheadings is done solely for organizational purposes and is
  not an admission as to their truth.


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         14.     Paragraph 14 of Plaintiff’s Complaint calls for a legal conclusion, to which no

  response is required. To the extent a response is required, Combe denies all allegations in

  paragraph 14 of Plaintiff’s Complaint.

         15.     Combe denies the allegations in paragraph 15 of Plaintiff’s Complaint.

         16.     Combe denies the allegations in paragraph 16 of Plaintiff’s Complaint.

         17.     Combe denies the allegations in paragraph 17 of Plaintiff’s Complaint.

         18.     Combe denies the allegations in paragraph 18 of Plaintiff’s Complaint.

         19.     Combe denies the allegations in paragraph 19 of Plaintiff’s Complaint.

         20.     Combe denies the allegations in paragraph 20 of Plaintiff’s Complaint.

         21.     Combe denies the allegations in paragraph 21 of Plaintiff’s Complaint.

         22.     Combe denies the allegations in paragraph 22 of Plaintiff’s Complaint.

         In response to the unnumbered paragraph following paragraph 22 of Plaintiff’s

  Complaint, Combe denies that Plaintiff is entitled to any recovery or any form of relief

  whatsoever. Combe denies the allegations contained in this paragraph of Plaintiff’s Complaint.

          COUNT II – STRICT LIABILITY DESIGN DEFECT AGAINST COMBE

         23.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.

         24.     Combe denies the allegations in paragraph 24 of Plaintiff’s Complaint.

         25.     Combe denies the allegations in paragraph 25 of Plaintiff’s Complaint.

         26.     Combe denies the allegations in paragraph 26 of Plaintiff’s Complaint, including

  the allegations in subparts A-D.

         27.     Combe lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 27.




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         28.     Combe denies the allegations in paragraph 28 of Plaintiff’s Complaint.

         29.     Combe denies the allegations in paragraph 29 of Plaintiff’s Complaint.

         30.     Combe denies the allegations in paragraph 30 of Plaintiff’s Complaint.

         In response to the unnumbered paragraph following paragraph 30 of Plaintiff’s

  Complaint, Combe denies that Plaintiff is entitled to any recovery or any form of relief

  whatsoever. Combe denies the allegations contained in this paragraph of Plaintiff’s Complaint.

               COUNT III – MANURACTURING DEFECT AGAINST COMBE

         31.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.

         32.     Combe denies the allegations in paragraph 32 of Plaintiff’s Complaint.

         33.     Combe denies the allegations in paragraph 33 of Plaintiff’s Complaint.

         34.     Combe denies the allegations in paragraph 34 of Plaintiff’s Complaint.

         35.     Combe denies the allegations in paragraph 35 of Plaintiff’s Complaint.

         36.     Combe denies the allegations in paragraph 36 of Plaintiff’s Complaint.

         37.     Combe denies the allegations in paragraph 37 of Plaintiff’s Complaint.

         38.     Combe denies the allegations in paragraph 38 of Plaintiff’s Complaint.

         In response to the unnumbered paragraph following paragraph 38 of Plaintiff’s

  Complaint, Combe denies that Plaintiff is entitled to any recovery or any form of relief

  whatsoever. Combe denies the allegations contained in this paragraph of Plaintiff’s Complaint.

        COUNT IV – STRICT LIABILITY FAILURE TO WARN AGAINST COMBE

         39.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.




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         40.     Combe admits only that at all times relevant to the Complaint, it designed,

  distributed, and/or sold Just For Men Moustache and Beard products.           Combe denies all

  remaining allegations in paragraph 40 of Plaintiff’s Complaint.

         41.     Combe admits only that at all times relevant to the Complaint, it designed,

  distributed, and/or sold Just For Men Moustache and Beard products.           Combe denies all

  remaining allegations in paragraph 41 of Plaintiff’s Complaint.

         42.     Combe lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 42.

         43.     Combe denies the allegations in paragraph 43 of Plaintiff’s Complaint.

         44.     Combe denies the allegations in paragraph 44 of Plaintiff’s Complaint.

         45.     Combe denies the allegations in paragraph 45 of Plaintiff’s Complaint.

         46.     Combe denies the allegations in paragraph 46 of Plaintiff’s Complaint.

         47.     Combe denies the allegations in paragraph 47 of Plaintiff’s Complaint.

         48.     Combe denies the allegations in paragraph 48 of Plaintiff’s Complaint.

         49.     Combe denies the allegations in paragraph 49 of Plaintiff’s Complaint.

         In response to the unnumbered paragraph following paragraph 49 of Plaintiff’s

  Complaint, Combe denies that Plaintiff is entitled to any recovery or any form of relief

  whatsoever. Combe denies the allegations contained in this paragraph of Plaintiff’s Complaint.

           COUNT V – BREACH OF IMPLIED WARRANTY AGAINST COMBE

         50.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.

         51.     Paragraph 51 of Plaintiff’s Complaint calls for a legal conclusion, to which no

  response is required. To the extent a response is required, Combe admits only that its product is




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  of merchantable quality and safe and fit for its normal use for which it was intended. Combe

  denies all remaining allegations in paragraph 51 of Plaintiff’s Complaint.

         52.     Combe lacks knowledge or information sufficient to form a belief as to the truth

  of the allegations contained in paragraph 52.

         53.     Combe denies the allegations in paragraph 53 of Plaintiff’s Complaint.

         54.     Combe denies the allegations in paragraph 54 of Plaintiff’s Complaint.

         55.     Combe denies the allegations in paragraph 55 of Plaintiff’s Complaint.

         In response to the unnumbered paragraph following paragraph 55 of Plaintiff’s

  Complaint, Combe denies that Plaintiff is entitled to any recovery or any form of relief

  whatsoever. Combe denies the allegations contained in this paragraph of Plaintiff’s Complaint.

                    COUNT VI – NEGLIGENCE AGAINST WALGREENS

         56.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.

         57-65. The allegations in Count VI (paragraphs 57-65, including subparts) are not

  directed to Combe and therefore no response is required. Should a response be deemed required,

  Combe denies the allegations set out in Count VI of Plaintiff’s Complaint.

      COUNT VII – STRICT LIABILITY DESIGN DEFECT AGAINST WALGREENS

         66.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.

         67-73. The allegations in Count VII (paragraphs 67-73, including subparts) are not

  directed to Combe and therefore no response is required. Should a response be deemed required,

  Combe denies the allegations set out in Count VII of Plaintiff’s Complaint.




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           COUNT VIII: MANUFACTURING DEFECT AGAINST WALGREENS

         74.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.

         75-81. The allegations in Count VIII (paragraphs 75-81, including subparts) are not

  directed to Combe and therefore no response is required. Should a response be deemed required,

  Combe denies the allegations set out in Count VIII of Plaintiff’s Complaint.

      COUNT IX: STRICT LIABILITY FAILURE TO WARN AGAINST WALGREENS

         82.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.

         83-92. The allegations in Count IX (paragraphs 83-92, including subparts) are not

  directed to Combe and therefore no response is required. Should a response be deemed required,

  Combe denies the allegations set out in Count IX of Plaintiff’s Complaint.

        COUNT X2: BREACH OF IMPLIED WARRANTY AGAINST WALGREENS

         93.     Combe incorporates by reference its responses to the allegations in paragraphs 1-

  12 of Plaintiff’s Complaint.

         94-99. The allegations in Count X (paragraphs 94-99, including subparts) are not

  directed to Combe and therefore no response is required. Should a response be deemed required,

  Combe denies the allegations set out in Count X of Plaintiff’s Complaint.

                                           JURY DEMAND

         Combe demands a trial by jury on all of the issues so triable as a matter of right.




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    While this count is listed as “Count V” in Plaintiff’s Complaint (see Compl. at p. 19), it is clear
  from the ordering that it is actually intended to be Count X.


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                                   AFFIRMATIVE DEFENSES

                                FIRST AFFIRMATIVE DEFENSE

         The Complaint fails to state a cause of action upon which relief can be granted against

  Combe.

                              SECOND AFFIRMATIVE DEFENSE

         Any injuries and/or damages sustained by Plaintiff, as alleged in the Complaint herein,

  were caused in whole or in part by the contributory negligence and/or culpable conduct of

  Plaintiff and not as a result of any contributory negligence and/or culpable conduct on the part of

  Combe.

                               THIRD AFFIRMATIVE DEFENSE

         Plaintiff is guilty of comparative culpable conduct and Plaintiff’s respective recoveries, if

  any, should be diminished in proportion to his relative amount of comparative fault.

                              FOURTH AFFIRMATIVE DEFENSE

         If Plaintiff sustained the injuries alleged in the Complaint, said injuries were the

  proximate result of Plaintiff’s misuse or abuse of the product at issue herein. Plaintiff failed to

  follow the instructions for use, including failing to properly follow instructions for performing

  the Skin Allergy Patch (Alert) Test.

                                FIFTH AFFIRMATIVE DEFENSE

         If Plaintiff sustained the injuries alleged in the Complaint, there was an intervening or

  superseding cause or causes leading to said injuries, and therefore, any action on the part of

  Combe was not the proximate or competent producing cause of Plaintiff’s injuries.




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                               SIXTH AFFIRMATIVE DEFENSE

         The events complained of in Plaintiff’s Complaint resulted from the actions of other

  parties, the Plaintiff, or non-parties, none of whom are under the control, supervision, or

  direction of Combe.

         Any damages awarded in favor of Plaintiff is subject to the provisions of Florida Statutes

  Section 768.81, and Combe cannot be liable for more than its proportionate pro-rata percentage

  share of any damages awarded. Further, pursuant to Fabre v. Marin, 623 So. 2d 1182 (Fla.

  1993), any damages awarded are subject to the total fault of all participants, whether current

  parties, unnamed parties, or parties who have settled, and all should be included on the verdict

  form for purposes of apportionment of fault.

         The identity of additional third persons or entities is intended to be discovered through

  the normal course of discovery and will be specifically identified in an amendment to this

  affirmative defense, pursuant to Nash v. Wells Fargo Guard Services, Inc., 678 So. 2d 1262 (Fla.

  1996

                             SEVENTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims are barred by the doctrine of estoppel, waiver, laches and statutory

  compliance.

                              EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff’s claims are time barred pursuant to the applicable Statute of Limitations.




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                                 NINTH AFFIRMATIVE DEFENSE

          The accident herein falls under the provisions of certain statutory enactments and/or

   amendments which took effect in the State of Florida on October 1, 199, which specifically

   address but are not limited to:

          a. § 768.1257, State-Of-The-Art-Defense for products liability;

          b. § 768.1256 Government Rules Defense;

          c. § 768.81 Comparative Fault.

   Combe pleads all of the defenses available to it under such enactments and/or amendments,

   including that the product was State-of-the-art at all relevant times, that Combe complied with all

   applicable government rules and regulations, and that persons other than Combe were at fault.

                                 TENTH AFFIRMATIVE DEFENSE

          Certain collateral source benefits were paid to, for, or on behalf of Plaintiff, or are

   payable or available to, for, or on behalf of Plaintiff. Such collateral source payments must be

   deducted from the jury verdict, if against Combe.

          Combe asserts the alleged incident herein falls under the provisions of the “Tort Reform

   and Insurance Act of 1986” which said act specifically addresses but is not limited to: § 768.76,

   Deduction From Jury Verdict of all Collateral Source Payments to Plaintiff; § 768.78,

   Alternative Methods of Payment of Damage Awards; § 768.81, Contributory Fault and

   Apportionment of Damages Between Tortfeasors. Combe pleads all of the defenses available to

   it under said Act.




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                              ELEVENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred by virtue of the fact that the dangers, if any, claimed by

   Plaintiff were open and obvious and known to Plaintiff and by Plaintiff’s assumption of the risks

   thereof.

                              TWELFTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred because he cannot establish that a feasible safer alternative

   design was available with respect to the product that allegedly caused Plaintiff’s claimed injuries.

                            THIRTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred to the extent that they seek to impose liability retroactively

   for conduct that was not actionable at the time it occurred.

                            FOURTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred to the extent that the injuries alleged in the Complaint

   resulted from a pre-existing and/or unrelated medical or genetic conditions and not from any act

   or omission by Combe.

                              FIFTEENTH AFFIRMATIVE DEFENSE

          Plaintiff’s claims should be diminished, in whole or in part, by any amount paid by or

   fairly allocable to any party with whom Plaintiff has settled or may settle.

                             SIXTEENTH AFFIRMATIVE DEFENSE

          Combe is entitled to a setoff against any verdict returned in this action to the extent that

   Plaintiff has received any payment or benefits from any statutory collateral source.

                           SEVENTEENTH AFFIRMATIVE DEFENSE

          Prior to and at the time of the occurrences of which Plaintiff complains, Plaintiff was not

   using the product complained of in a manner in which it was intended to be used.




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                             EIGHTEENTH AFFIRMATIVE DEFENSE

          Prior to and at the time of the occurrences of which Plaintiff complains, the product

   complained of was not in the same condition as it was at the time it left Combe’s control, said

   product having been independently and materially changed, altered and modified by others, over

   whom Combe had no control.

                             NINETEENTH AFFIRMATIVE DEFENSE

          The alleged injuries of which Plaintiff complains were solely or substantially caused by

   disease, genetic conditions, or other factors not connected with the product.

                             TWENTIETH AFFIRMATIVE DEFENSE

          The product was not unreasonably dangerous, was suitable for the purpose for which it

   was intended, and was sold and distributed with adequate warnings and instructions.

                           TWENTY-FIRST AFFIRMATIVE DEFENSE

          Plaintiff’s claims for damages are barred, in whole or in part by the Restatement (Second)

   of Torts, Section 402A, Comment k, as well as the applicable provisions of the Statement (3rd) of

   Torts and Florida law upholding and applying these provisions.

                          TWENTY-SECOND AFFIRMATIVE DEFENSE

          Combe is not strictly liable to plaintiff because the product was not defective when it left

   Combe’s possession or at any other relevant time.

                           TWENTY-THIRD AFFIRMATIVE DEFENSE

          Plaintiff’s claims are barred, in whole or in part, because Combe acted in good faith at all

   relevant times and gave adequate warnings of all known or reasonably knowable risks associated

   with the use of its product.




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                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims are barred, in whole or in part, because Plaintiff used the product for

   other than its intended purpose and inconsistent with its instructions.

                           TWENTY-FIFTH AFFIRMATIVE DEFENSE

           Plaintiff’s medical conditions or injuries, if any, were not caused by the negligence or

   wrongful acts of Combe.

                           TWENTY-SIXTH AFFIRMATIVE DEFENSE

           Plaintiff failed to mitigate his damages and the damages awarded, if any, must

   accordingly be reduced.

                         TWENTY-SEVENTH AFFIRMATIVE DEFENSE

           Combe asserts that all of Plaintiff’s claims are barred or diminished because of failure of

   Plaintiff or other parties or non-parties to preserve evidence.

                          TWENTY-EIGHTH AFFIRMATIVE DEFENSE

           By entering into the activity in which Plaintiff was engaged at the time of the occurrence,

   Plaintiff knew the hazards thereof and the inherent risks incident thereto and had full knowledge

   of the dangers thereof. Whatever injuries and damages were sustained by Plaintiff arose from

   and were caused by reason of such risks voluntarily undertaken by Plaintiff in said activities and

   such risks were assumed and accepted by Plaintiff in performing and engaging in such activities.

                           TWENTY-NINTH AFFIRMATIVE DEFENSE

           Plaintiff’s claims are barred, in whole or in part, based upon a balancing of risk and

   utility factors.




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                             THIRTIETH AFFIRMATIVE DEFENSE

          Combe affirmatively alleges that it engaged in reasonable care in its design, development,

   testing, manufacturing, marketing and/or distribution of the subject Just For Men® product

   described in the Plaintiff’s Complaint.

                           THIRTY-FIRST AFFIRMATIVE DEFENSE

          Combe states that the alleged damages suffered by the Plaintiff are the result of conduct

   of third persons not a party to this lawsuit, or for whom Combe has no control, and accordingly,

   the liability of Combe, which is expressly denied, should be reduced by the degree of fault of

   these third parties pursuant to § 768.81, Florida Statutes, as well as Nash v. Wells Fargo Guard

   Services, 678 So. 2d 1262 (1996).

          Any damages awarded in favor of Plaintiff is subject to the provisions of Florida Statutes

   Section 768.81, and Combe cannot be liable for more than its proportionate pro-rata percentage

   share of any damages awarded. Further, pursuant to Fabre v. Marin, 623 So. 2d 1182 (Fla.

   1993), any damages awarded are subject to the total fault of all participants, whether current

   parties, unnamed parties, or parties who have settled, and all should be included on the verdict

   form for purposes of apportionment of fault.

          Should other such evidence develop, Combe reserves the right to amend its pleadings in

   accordance with Nash v. Wells Fargo Guard Services, 678 So. 2d 1262 (1996) and include

   potential third parties as Fabre Defendants on the verdict form. Combe would state, in

   accordance with Nash v. Wells Fargo Guard Services, 678 So. 2d 1262 (1996) that should any

   non-party defendant become Party Defendants through a process for Leave to Amend

   commenced by the Plaintiff, this Fabre Affirmative Defense shall survive any future settlement

   of the aforementioned potential Party Defendant; and should that potential Party Defendant be




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   added to the action and subsequently dismissed through voluntary dismissal or settlement,

   Combe requests that their names continue to appear on the verdict form in accordance with this

   affirmative defense.

           Further, Combe reserves the right to adopt the Plaintiff’s theories or expert testimony as

   to any other party to this lawsuit, and should potential Party Defendants become a non-party by

   way of settlement or dismissal, Combe reserves the right to request that the issue of its

   negligence be considered by the jury in this cause and to seek an appropriate apportionment by

   the jury.

           Once third parties become known, Combe reserves the right to Amend its Affirmative

   Defenses to properly plead such third parties.

                          THIRTY-SECOND AFFIRMATIVE DEFENSE

           Combe reserves the right to plead such additional separate defenses as may be

   appropriate, dependent upon facts revealed in discovery.

           WHEREFORE, Combe requests that judgment be entered dismissing Plaintiff’s

   Complaint, with prejudice; awarding Plaintiff nothing; and awarding Combe its costs and fees

   incurred in defending this action, and such other and further relief as the Court deems

   appropriate under the circumstances.

   Date: April 23, 2021

                                                Respectfully submitted,

                                                /s/ Ezequiel J. Romero
                                                Ezequiel J. Romero
                                                Florida Bar No. 107216
                                                BRYAN CAVE LEIGHTON PAISNER, LLP
                                                200 South Biscayne Blvd., Ste 400
                                                Miami, FL 33131
                                                Tel: (786) 322-7500
                                                Email: romeroe@bclplaw.com



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                                 CERTIFICATE OF SERVICE

          I hereby certify that, on April 23, 2021, a true and correct copy of Defendant Combe

   Incorporated’s Answer and Affirmative Defenses was filed and served via e-mail utilizing the

   Courts CM/ECF system on all counsels of record.

                                              /s/ Ezequiel J. Romero
                                             Ezequiel J. Romero, Esq.




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